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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Norfolk Division

JOYCE ETTA HARPER, Executrix
and Administratrix of the Estate of
Glenn Ray Bass, Sr.,
Plaintiff,
Vv. Civil Action No. 2:20CV445 (RCY)

PNC INVESTMENTS, LLC,

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Defendant. )
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MEMORANDUM OPINION

This matter is before the Court on PNC Investments, LLC’s Motion for Summary
Judgment (ECF No. 27). The Motion has been fully briefed, and the Court dispenses with oral
argument because the material before it adequately presents the facts and legal contentions, and
argument will not aid the decisional process. E.D. Va. Loc. Civ. R. 7(J). For the reasons stated
below, the Court will grant the Motion.

I. FACTUAL HISTORY

The Court will recount the relevant background facts surrounding the claim of Plaintiff,
Joyce Etta Harper, Executrix and Administratrix of the Estate of Glenn Ray Bass, Sr., (“Plaintiff’),
against Defendant, PNC Investments, LLC (“Defendant”). These facts are undisputed by the
parties and all inferences from these facts have been viewed in the light most favorable to Plaintiff.

On or about December 12, 2013, Glenn Ray Bass, Sr., (“Senior”) and Glenn Ray Bass, Jr.,

(“Junior”) opened a brokerage account (“Account”) with Defendant at a branch in Accomack
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County. (Account Appl., ECF No. 28-2 at 11.)! The Account was a joint account that they opened
as tenants with rights of survivorship. (/d. at 3.)

The Account was governed by the PNCI Brokerage Account Customer Agreement
(“Agreement”). (Agreement, ECF No. 28-4 at 4.) In regard to enforcement of the Agreement, it
states, “We or NFS [National Financial Services LLC] may enforce this Agreement against all
account owners or against any owner individually.” The Agreement also states:

We and NFS reserve the right to require, at any time, the written consent of all

Account owners before acting on an instruction from any Account owner, but we

or NFS will use this right only at our own discretion and for our own protection.

Ud.) Another clause in the Agreement provides that:

In maintaining and/or executing instructions for any Account, we may require

additional documentation, and we reserve the right to restrict trading,

disbursements, transfers, or to take no action in an Account. This shall also apply
to any disputes or conflicting instructions between Account holders.

(Ud. at 13.)

In March 2018, Senior was admitted to the Hartley Hall Nursing & Rehabilitation Center
where his physician diagnosed him as suffering from dementia and delusions. (ECF Nos. 28-5,
28-6, and 28-7.) In April 2018, Senior’s three other children, but not Junior, took Senior to meet
with Attorney David Rowan (“Rowan”) to have him revoke Junior’s power of attorney and make
anew will for Senior. (Dep. of Rowan at 14:10-25, ECF No. 28-8.)

On May 15, 2018, Rowan called Craig Booth (“Booth”), Senior’s financial advisor at
Defendant, to discuss the Account. Ud. at 54:22-55:22.) Following up on the call, on June 4,
2018, Rowan sent a letter to Booth on Senior’s behalf claiming that Senior was the sole owner of
the funds in the Account and requesting that Defendant “transfer the entire balance of this account

to a separate account titled solely in the name of Glenn Bass, Sr.” (ECF No. 28-10.)

 

! The Court uses the page numbering assigned by the CM/ECF system unless otherwise noted as a deposition.
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On July 20, 2018, Carolyn Thompson (“Thompson”) in Defendant’s legal department
responded to Rowan's letter on behalf of Defendant. (ECF No. 28-12.) In the letter, Defendant
exercised its discretion to “require written consent from both owners of the account prior to transfer
and/or release of the assets held therein.” (Jd) After several calls from Rowan, on July 24, 2018,
Defendant’s legal department directed that the Account be frozen. (Dep. of Thompson at 11:13-
24, ECF No 28-11.) Defendant never received a joint instruction to liquidate or transfer the
Account. (Dep. of Junior at 46:16-50:11, ECF No. 28-3.)

On July 25, 2018, Rowan notified Thompson that Senior died. (Dep. of Thompson at
11:20-12:4.) On August 29, 2018, Rowan sent a letter to Junior on behalf of Senior’s estate
challenging the ownership of the funds in the Account and requesting that Junior relinquish the
funds to the estate. (ECF No. 28-13.) Junior then filed a declaratory judgment action against
Defendant and his siblings in the Circuit Court for Accomack County, claiming that Senior
intended for the Account to pass to Junior on Senior’s death and that he was the rightful owner of
the funds. (ECF No. 28-14.)

Defendant was dismissed from the state court action when it interpleaded the funds from
the Account with the state court pending resolution of the ownership dispute. (ECF No. 28-15.)
On June 2, 2020, the Circuit Court for Accomack County found in favor of Junior. (ECF No. 28-
16.) That decision was appealed, and a writ was granted by the Supreme Court of Virginia. (Mem.
Opp’n, ECF No. 29 at 22.)

II. PROCEDURAL HISTORY

Plaintiff originally filed her Complaint in the Circuit Court of Accomack County on July

20, 2020, and Defendant removed the action to this Court on August 28, 2020. (ECF No. 1.)

Defendant then filed a Motion to Dismiss Plaintiff's Complaint on September 4, 2020. (ECF No.
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4.) In response, Plaintiff filed her Amended Complaint on September 17, 2020. (Am. Compl.,
ECF No. 6.)

On January 19, 2021, the Court ordered the parties to file supplemental memoranda
addressing whether Pennsylvania or Virginia law applies to this action. (ECF No. 19.) This
briefing was completed on February 1, 2021. (ECF No. 23.) Defendant filed the instant Motion
for Summary Judgment on April 29, 2021. (ECF No. 27.) Plaintiff filed a response in opposition
on May 10, 2021, and Defendant filed a reply brief on May 17, 2021, at which the Motion became
ripe. (ECF Nos. 29-30.)

Ill. LEGAL STANDARD

The Federal Rules of Civil Procedure provide the standard of review for this case. Rule
56(a) states that summary judgment should be granted “if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
Fed. R. Civ. P. 56(a). The Court must determine “whether the evidence presents a sufficient
disagreement to require submission to a jury or whether it is so one-sided that one party must
prevail as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986).
However, “‘[t]he mere existence of some alleged factual dispute’ cannot defeat a motion for
summary judgment.” Stallard v. Bank of Am., N.A., 137 F. Supp. 3d 867, 871 (E.D. Va. 2015)
(quoting Hooven-Lewis v. Caldera, 249 F.3d 259, 265 (4th Cir. 2001)).

The Court must view the evidence “in the light most favorable to . . . the nonmovant, and
draw all reasonable inferences in her favor.” Dennis v. Columbia Colleton Med. Ctr., Inc., 290
F.3d 639, 645 (4th Cir. 2002) (citing Baynard v. Malone, 268 F.3d 228, 234 (4th Cir. 2001)).
There is no burden on the moving party, however, “to produce evidence showing the absence of a

genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986.) “Instead...
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the burden on the moving party may be discharged by “showing” . . . that there is an absence of
evidence to support the nonmoving party’s case.” Id.
IV. CHOICE OF LAW ISSUE

As discussed in the Court’s January 19, 2021 Order (ECF No. 19), the parties, in their
memoranda addressing Defendant’s Motion to Dismiss Plaintiff's Amended Complaint (ECF Nos.
7-8), reference only Virginia law. The Agreement, however, provides: “This Agreement and its
enforcement are governed by the laws of the Commonwealth of Pennsylvania, except with respect
to its conflict-of-law-provisions.” (Agreement at 14.) The Fourth Circuit holds that “[as] a federal
court sitting in diversity, we must apply the choice of law rules of the forum state—in this case
Virginia .. . Virginia law looks favorably upon choice of law clauses in a contract, giving them
full effect except in unusual circumstances.” Hitachi Credit Am. Corp. v. Signet Bank, 166 F. 3d
614, 623-624 (4th Cir. 1999) (citing Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496-97
(1941); Tate v. Hain, 25 S.E.2d 321, 324 (Va. 1943)). Because of this discrepancy between the
Agreement and the parties’ briefs, the Court ordered the parties to file memoranda addressing
whether Pennsylvania or Virginia law controls. (ECF No. 19.)

Defendant argued that it did not waive the Pennsylvania choice of law provision, but,
because “Pennsylvania and Virginia law are nearly identical with respect to the elements of a
breach of contract, whether this Court applies Pennsylvania law or Virginia law does not change
the ultimate result ....” (Def.’s Suppl. Mem., ECF No. 22 at 1.) Plaintiff argued that Defendant
has waived the Agreement’s choice of law provision, but she agrees that “Pennsylvania and
Virginia law are substantively similar or identical” for the breach of contract analysis. (P1.’s Suppl.

Mem., ECF No. 23 at 2-4.)
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The Court finds that Defendant waived its right to enforce the Agreement’s choice of law
provision. The Fourth Circuit upheld a choice of law provision in Grecon Dimter, Inc. v. Horner
Flooring Co., in which the party seeking to enforce the provision made their desire to do so “clear
at the pleading stage." 114 Fed. App’x 64, 67 (4th Cir. 2004). In its decision, the Fourth Circuit
cited other cases in which courts had found there to be a waiver of the choice of law provision
when the parties ignored a choice of law provision for a longer period of time. Jd. at 66-67 (citing,
inter alia, Cargill, Inc. v. Charles Kowsky Res., Inc., 949 F.2d 51, 55 (2d Cir. 1991) (“[E]ven when
the parties include a choice-of-law clause in their contract, their conduct during litigation may
indicate assent to the application of another state’s laws.”) (citation omitted)). In this case,
Defendant cited only Virginia law in its memorandum in support of its original motion to dismiss
(ECF No. 5), its memorandum in support of its motion to dismiss that was filed after the Amended
Complaint was filed (ECF No. 8), and in its reply (ECF. No. 10). Defendant only asserted its
desire to use the choice of law provision after the Court raised the issue in its January 19, 2021
Order. The Court, therefore, finds that Defendant’s conduct during litigation indicated its assent
to the application of Virginia’s laws, and that it has waived its right to the choice of law provision.
As Virginia and Pennsylvania law are substantially similar for breach of contract analysis, this
finding will not materially affect the Court’s decision.

V. DISCUSSSION

The crux of this action is whether Defendant breached its contractual obligations to Senior
when it did not allow him to withdraw or transfer the funds from the Account when Rowan
requested it. (Am. Compl. § 24.) Defendant argues that it merely used its expressly reserved right

to require, at any time, the written consent of all Account owners before acting on an instruction
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from any Account owner, and that its actions did not cause Plaintiff any actual damages. (Mem.
Supp. at 10.) The Court agrees with Defendant.

In Virginia, “[t]he elements of a breach of contract action are (1) a legally enforceable
obligation of a defendant to a plaintiff; (2) the defendant’s violation or breach of that obligation;
and (3) injury or damage to the plaintiff caused by the breach of obligation.” Rogers v. Deane,
992 F. Supp. 2d 621, 629 (E.D. Va. 2014) (citing Filak v. George, 594 S.E.2d 610, 614 (Va. 2004)),
aff'd 594 F. App’x 768 (4th Cir. 2014). Additionally, “proof of actual damages is an essential
element of a breach of contract claim.” Jd.

Plaintiff has not been able to point out a legally enforceable obligation of Defendant to
Plaintiff that Defendant breached. The Agreement clearly states that “[Defendant] and NFS
reserve the right to require, at any time, the written consent of all Account owners before acting
on an instruction from any Account owner, but [Defendant] or NFS will use this right only at our
own discretion and for our own protection.” (Agreement at 4.) This right is unqualified. There
are no terms in the contract that limit Defendant’s reservation of this right or Defendant’s
discretion in using this right. Therefore, Senior did not have a unilateral, unqualified right to
withdraw his funds at any time, and Defendant did not breach the contract by not allowing him to
do so. Plaintiff argues that the clause stating that Defendant “will use this right only at our own
discretion and for our own protection” required Defendant to express a basis for exercising its
discretion or state why it needed protection. (Mem. Opp’n at 2.) Defendant, however, is not
required by the Agreement to provide a justification for its use of its right. Plaintiff has provided
no evidence suggesting that providing an explanation was necessary or something that Defendant

did in other instances.
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Plaintiff also argues that the provision entitling Defendant to “take no action on an
Account” is written in the context of situations pertaining to disputes among account holders.
(Mem. Opp’n at 21.) To this end, she argues that there were no conflicting instructions and that
Defendant has failed to establish that there was a dispute between Senior and Junior. (/d. at 21-
22.) However, when read in conjunction with the preceding sentence and the succeeding sentence,
this is not the case. The clause states:

In maintaining and/or executing instructions for any Account, we may require

additional documentation, and we reserve the right to restrict trading,

disbursements, transfers, or to take no action in an Account. This shall a/so apply
to any disputes or conflicting instructions between Account holders.

(Agreement at 13) (emphasis added.) The preceding sentence makes it clear that the right to take
no action, along with the right to restrict transfers, pertains to situations when there are instructions
to act on an Account. The succeeding sentence does not constrain this right. Instead, it provides
Defendant with additional situations, disputes among owners and conflicting instructions, in which
it can exercise this right. Thus, it is immaterial whether Junior and Senior gave conflicting
instructions or had a dispute related to their joint account. Defendant had the right to take no action
even when there were no disputes or conflicting instructions.

Plaintiff also tries to introduce other extrinsic evidence, such as the intentions of the parties
when opening the account. (Mem. Opp’n at 33.) Plaintiff relies heavily on Buck v. Jordan. 508
S.E.2d 880 (Va. 1998). In Buck, a father and daughter owned an investment account jointly with
rights of survivorship. /d. at 881. After learning that the daughter had been withdrawing large
sums of money, the father attempted to withdraw all the funds from the account. Jd. at 882. A
representative of the investment company incorrectly stated that withdrawing the funds would
result in a check in both the father and daughter’s names. Jd. After the death of the father, the

executor (“the Estate”) then filed suit against the investment company for a declaratory judgment
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that the executor was the owner of the funds. Jd. The investment company then sought to interplead
the funds. Jd. The Estate then filed a cross-bill alleging breach of contract and constructive fraud.
Id. The Estate introduced evidence about the intent of the father and daughter at the time the
account was created. /d. at 883. The Estate claimed, as does Plaintiff, that the account was created
for the convenience of the father, and the funds should go to the Estate. Jd. at 883-84. Plaintiff
relies on the determination of the Supreme Court of Virginia, that the trial court did not err by
allowing the Estate to present evidence on intent. Jd. at 884. However, the court was addressing
the issue of ownership of the funds, not the issue of whether the investment company had breached
the contract.” Jd. While potentially relevant to the issue of ownership being litigated in state court,
this argument is irrelevant to the current breach of contract action.

Plaintiff further argues that Defendant somehow committed a breach of its contract with
Senior based on a state statute. Va. Code Ann. § 6.2-608(A). The statute provides that “[s]ums
remaining on deposit at the death of a party to a joint account belong to the surviving party as
against the estate of the decedent unless there is clear and convincing evidence of a different
intention at the time that the account is created.” Jd This provision, however, has no effect on
this action or the present breach of contract claim. Like the convenience account argument, this
argument would be better served in the state court declaratory judgment action that seeks to resolve
the issue of ownership of the funds from the Account.

In addition to not being able to show how Defendant breached a legally enforceable
obligation of Defendant to Plaintiff, Plaintiff has not been able to provide any evidence of actual

damages. “[A] plaintiff must show a causal connection between the defendant’s wrongful conduct

 

2 On the issue of breach of contract, the court granted the insurance company’s motion for summary judgment, as
nothing in the account agreement obligated the company to issue a check in one account holder’s name. Buck, 508
S.E.2d at 884.
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and the damages asserted.” Saks Fifth Ave., Inc. v. James, Ltd., 630 S.E.2d 304, 311 (Va. 2006).
Plaintiff bears “the burden of proving that [her] damages were ‘proximately caused by wrongful
conduct.’” Jd. at 312 (quoting Hop-In Food Stores, Inc. v. Serv-N-Save, Inc., 440 S.E.2d. 606, 608
(Va. 1994)). There is no evidence that Defendant caused Plaintiff any damages. Defendant, for
example, did not give all the account funds to Junior either prior to or after Senior’s death. Instead,
Defendant interpleaded them with the state court to allow that court to determine proper ownership
of the funds. (ECF No. 28-15.) The funds have not been diminished in any way, and they have
not been distributed, as the state court action is still pending before the Supreme Court of Virginia.
Because Plaintiff has not been able to show any actual damages caused by Defendant, its breach
of contract claim fails.

None of Plaintiff's arguments succeed in creating a genuine dispute of material fact, and
the Court finds that Defendant is entitled to judgment as a matter of law.

VI. CONCLUSION

Therefore, for the foregoing reasons, the Court will grant PNC Investments, LLC’s Motion

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Roderick C. Young .

United States District Jidge

for Summary Judgment (ECF No. 27).

An appropriate Order shall issue.

 

Richmond, Virginia
Date: September 13, 2021

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